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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )                 4:03CR3014-1
                   Plaintiff,           )
                                        )
             v.                         )
                                        )                MEMORANDUM
HA T.T. NGUYEN,                         )                 AND ORDER
                                        )
                   Defendant.           )

      The defendant has filed or tendered for filing a motion that I construe as
seeking a reduction of sentence pursuant to the retroactive amendments to the “crack”
Guidelines. The Court has developed procedures to deal with such a motion.
Therefore,

      IT IS ORDERED:

1.    No later than Friday, April 18, 2008, the probation office shall provide the
      undersigned and counsel of record with a “Retroactive Sentencing Worksheet.”
      If the officer requires additional time, a request may be made to the
      undersigned by e-mail. My judicial assistant shall provide the Probation Office
      with a copy of this order.

2.    No later than Monday, May 5, 2008, counsel of record shall confer and do one
      of the following:

      A.     File a stipulation containing the following provisions: (i) an
             agreement that the defendant is eligible for a sentence reduction
             pursuant to 18 U.S.C. § 3582(c) and U.S.S.G. § 1B1.10; (b) an
             agreement that the defendant may be resentenced without being
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           present and without further notice and (c) an agreement regarding
           the recommended sentence.

      B.   In lieu of the stipulation provided in paragraph A, counsel for the
           government shall contact my judicial assistant and arrange a
           telephone conference with the undersigned and counsel for the
           defendant so that further progression of this case may be
           scheduled.

      March 5, 2008.                 BY THE COURT:

                                     s/Richard G. Kopf
                                     United States District Judge




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